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                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

PROXICOM WIRELESS, LLC,

                         Plaintiff,
                                                         CASE NO.: 6:18-cv-00064-RBD-GJK
v.

MACY’S, INC. AND MACY’S FLORIDA
STORES, LLC,

                         Defendants.



 DEFENDANTS’ CONSENTED MOTION FOR A ONE WEEK EXTENSION OF TIME
          TO RESPOND TO PLAINTIFF’S MOTION TO COMPEL


           Pursuant to Rule 6(b)(1), Federal Rules of Civil Procedure, Defendants Macy’s, Inc. and

Macy’s Florida Stores, LLC (collectively, “Defendants”), respectfully request that the Court

extend the deadline for Defendants to respond to Plaintiff’s Motion to Compel from the current

deadline of October 4, 2018 up to and including October 11, 2018.

           The parties have been conferring regarding Proxicom’s Motion to Compel in an effort to

narrow the issues raised in the motion. The additional week will allow the parties time to

determine if the issues presented to the Court can be narrowed to conserve judicial resources.

Counsel for the Plaintiff has agreed to the one week extension to respond to Plaintiff’s Motion to

Compel.




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                                 CERTIFICATE OF COUNSEL

           I HEREBY CERTIFY that counsel for the Parties have conferred with respect to the

foregoing and that counsel for the Plaintiff has agreed to the one week extension to respond to

Plaintiff’s Motion to Compel.




Dated: October 2, 2018                        Respectfully submitted,



                                              s/ Richard S. Mandaro___________
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